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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION


 UNITED STATES                                )
                                              )
        v.                                    )       Case No. 2:07 cr 47
                                              )
 WILLIAM SMITH                                )

                                     OPINION AND ORDER

        One of the defendant in this case, William Smith, has moved the Court to dismiss Counts

 One and Eight of the superceding indictment because venue is not proper in the Northern District

 of Indiana. [DE 164.] In light of the government’s proffered evidence relating to location of the

 acts forming a basis of these counts in the superceding indictment, that motion is hereby

 DENIED.

        Defendant Smith is charged with the use of a telephone in furtherance of a drug

 trafficking crime in violation of 21 U.S.C. § 843(b) and § 846 (Count 8)and with knowingly and

 intentionally conspiring to knowingly and intentionally possess with intent to distribute a

 kilogram or more of a substance containing heroin in violation of 21 U.S.C. § 841(a)(1) (Count

 1). Defendant has entered a plea of not guilty to both of these counts.

        The Constitution and the Federal Rules provide that venue lies where a crime is

 committed. Andrews v. United States, 817 F.2d 1277, 1279 (7th Cir. 1987). Neither the

 government nor the Defendant dispute the applicable law to the venue issue; instead, the parties

 simply disagree on the facts giving rise to the charges in the superceding indictment.

        a.      Venue for Count 8 of the Superceding Indictment

        In Count 8, Defendant is charged with using a telephone in furtherance of drug

 trafficking crime in violation of 21 U.S.C. § 843(b). The parties do not dispute that for purposes
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 of Section 843(b), “the crime is committed both where the call originates and where it is

 received.” Andrews, 817 F.2d at 1279. Thus, the threshold issue is whether the telephone call

 that forms the basis of Count 8 was either originated by the government confidential informant

 or received by the Defendant in the Northern District of Indiana.

        In its response, the government proffers evidence that on December 6, 2006, the

 government’s confidential informant placed a telephone call to Defendant. The confidential

 informant was at a predetermined location in Dyer, Indiana, when the telephone call originated.

 Because the telephone call that forms the basis for Count 8 of the superceding indictment

 originated in the Northern District of Indiana, venue for Count 8 is proper in this Court.

 Accordingly, Defendant’s Motion to Dismiss Count 8 for lack of venue is DENIED.

        b.      Venue for Count 1 of the Superceding Indictment

        In Count 1, Defendant is charged with knowingly and intentionally conspiring to

 knowingly and intentionally possess with intent to distribute a kilogram or more of a substance

 containing heroin in violation of 21 U.S.C. § 841(a)(1) and § 846. Venue is proper for

 prosecutions under § 846 in any “district in which an overt act in furtherance of the conspiracy

 occurred.” United States v. Rodriguez, 67 F.3d 1312, 1318 (7th Cir. 1995).

        Defendant argues that the absence of an overt act in this district taken in furtherance of

 any conspiracy to which Defendant belonged mandates dismissal of Count I. In its response, the

 government proffers evidence of a plethora of overt acts in this district which were taken in

 furtherance of the conspiracy to which Defendant belonged. The government proffers proof that

 virtually all of the heroin purchased from Defendant and his co-conspirators was immediately

 resold in Porter County, Indiana, and Lake County, Indiana. Furthermore, heroin was recovered

 from several members of the conspiracy in Porter County, Indiana, and a controlled buys of
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 heroin from co-conspirators took place in Crown Point, Indiana, and Merrillville, Indiana. The

 government proffers further proof that during the course of the conspiracy, Defendant told a

 witness that it was no longer necessary to drive out to Defendant’s house in Illinois, as heroin

 could now be purchased from Defendant’s co-conspirator in Porter County. Based on the

 government’s proffered evidence, it is abundantly clear that multiple overt acts in furtherance of

 the conspiracy in Count 1 occurred in the Northern District of Indiana.

        Defendant argues that even if an overt act in furtherance of the conspiracy was

 committed in the Northern District of Indiana, venue is nonetheless improper because the overt

 act was not reasonably foreseeable to Defendant. In its response, the government proffers proof

 that Defendant received multiple drug-related telephone calls on his cellular phone that

 displayed “219" area codes and that Defendant recognized that these calls were coming from

 Northwest Indiana. Furthermore, after calling Defendant, witnesses would then drive (in cars

 displaying Indiana license plates) a short distance to Illinois, where they would purchase from

 Defendant large amounts of heroin which were clearly being purchased for resale. The

 government proffers further proof that on at least one occasion, a buyer from Indiana called

 Defendant to arrange for a drug purchase, and Defendant asked co-conspirator Demond

 Hardimond to deliver the heroin for this purchase. Finally, the government proffers proof that

 several of Defendant’s Indiana customers were introduced to him by co-conspirator Matthew

 Bishop.

        Based on the government’s proffered evidence, this Court finds that the evidence

 establishes venue in the Northern District of Indiana because the overt acts taken in furtherance

 of the conspiracy were clearly foreseeable by Defendant. Accordingly, Defendant’s Motion to

 Dismiss for lack of venue must be DENIED, as venue is proper in the Northern District of
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 Indiana.

        For these reasons, the Defendant’s Motion to Dismiss [Doc. No. 164] is DENIED.

        SO ORDERED.

        Entered: August 14, 2007

                                                  s/ Philip P. Simon
                                                  PHILIP P. SIMON, JUDGE
                                                  UNITED STATES DISTRICT COURT
